 

Case 3:13-bk-O6636-PMG Doc1 Filed 11/06/13 Page 1 of 50

BI (Official Form 1) (04/13)

 

UNITED STATES BANKRUPTCY COURT

fa gel jo Daba Wot or

VOLUNTARY PETITION

 

 

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

ebtdy (if individual; enter First, Middle):
OBU Pma lia
1 Other Names used by the Debtet in the is 8 years

Gnelude married, eC _ ade namy

{edb

Ali Other Names used. by the Joint Debtor in the last 8 years
Gnechide married, maiden, and trade names):

 

Last Atel digits of Soc. C or Ao iatTasbat D. dTINVComplete EIN

(if more than one, state all): nA toHt- wo 3 _ 4 my i

Last four digits of Soc. Sec. or Individual-Taxpayer I'D. dTINVComplete EIN
(if more than one, state all):

 

DUYs of (fale and Street, City, and ele p 3 16 4
3& PAL Wad Se ley PM
Pat a Te OY AS
Waiekson Wi tL e bl Vip CODE ]

Street Address of Joint Debtor (No. and Street, City, and State):

(ip CODE i

 

County of Residence or of the Principal Plate of Business: Wo
val

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtor (if different from street address):

71P COE I

 

Mailing Address of Joint Debtor Gf different from street address):

IP CONE I

 

Location of Principal Assets of Business Debtor (Gif different from street address above):

EZ IP CODE ]

 

 

 

 

 

 

 

[2 Titing Fee to be paid in instaliments (applicable to individuals only). Must ailach
signed application for the court’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

(1 _ Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court’s consideration. See Official Form 3B.

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)

(1 _~—— Health Care Business (10 Chapter 7 (1 Chapter 15 Petition for

EX Individual (includes Joint Debtors) (1 __ Singic Assct Real Estate as defined in CC] Chapter 9 Recognition of a Forcign
Nee Hrbihit 1) an nage 2 at this form WISE & TOISERY mM Chimter 1 Main Proceedine
LJ Corporation (includes LLC and LLP) LI Railroad LJ Chapter (2 LJ Chapter 15 Petition for
LC) sPartnership [] Stockbroker £])—Thapter 13 Recognition of a Foreign
LC) Other (if debtor is not one of the above entities, check 00 Commodity Broker Nonmain Proceeding
this box and state type of entity below.) 0 ~s Clearing Bank
(] Other
Chapter 15 Debtors Tax-Exempt Entity Nature of Debts
Country of debtor’s center of main interests: (Check box, if applicable.) mn, fy cone one box.) ,
Ld Uevis ae puutally © COUSULLEGL Lg Debis ae

p44 linktes B Spkte dafiecd it ariniarine

ii Dbobtor is a tax-ox debts, defined in 11 U.S.C. primarily;
Each country in which a foreign proceeding by, regarding, or under title 26 of the United States § 101(8) as “incurred by an business debts.
against debtor is pending: Code (the Internal Revenue Code). individual primarily for a

personal, family, or
household purpose.”
Filing Fee (Check one box.) Chapter 11 Debtors
Check one box:

rl Pull Filing Yee attached mo

 

C

Check if:

1 _Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
on 4/01/16 and every three years thereafter).

Check all applicable boxes:

TT) Anlan is heing filed with this netition

Lj Acceptances of the plan were solicited #sepetition trom one or more classes
of creditors, in accordance with 11 U. Sapyg 11260).

 

 

 

 

   

 

 

 

 

Statistical/Administrative Information THIS SPACEIS FOR
|.-GOURT USE ONLY
Debtor estimates that funds will be available for distribution to unsecured creditors. Po
O Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for wn
_ distribution to unsecured creditors. . :
Estimated Number of Creditors a
i Oo io o o Oo o O Oi o -
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over =r
5,000 10,000 25,000 50,000 100,000 1400;000 tm
ot, w Mm
Estimated Assets e, oO
O oO O oOo nm] an
$0 to $50,001 to $100,001 to $500,001 $10,000,001 $50,000,001 $100,000,001 — $500,000,001 = More than CG
$50.000 = $100.000 =~ $800,000 to $1 to $50 to $100 to $500 to$1 billion $1 billion L VV
Estimated Liabilities \o 6?
O 0 0 O 0 O Oo O do
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion XH
million million million million million

 

 

 
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Bl (Official Form 1) (04/13) Page 2
Voluntary Petition Name of pee \ gi
(This page must be completed and filed in every case.) Ace \ iC | trios \y 1 lie

 

All Prior Bankruntcy Cases Filed Within Last 8 Years (If more than Two. attach Additional sheet.)

 

       

 

wawenies Middle Ostet Try PL “on BQ Tea.

 

 

 

 

 

 

Location Case Number: Date Filed:”
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: Case Number: Date Filed:
THstrict: Relationship: Judge:
i
Exhibit A Exhibit B
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and (To be completed if debtor is an individual
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d) whose debts are primarily consumer debts.)

of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
I, the attomey for the petitioner named in the foregoing petition, declare that I have
informed ihe petitioner thai fhe or she] may proceed under chapier 7, 11, 12, or 13
ui Gs li, Umiled Sidies Code, und have capiaied ihe relic? available under each
such chapter. I further certify that I have delivered to the debtor the notice required
by 11 U.S.C. § 34200).

1] Exhibit A is attached and made a part of this petition.
Xx

 

 

Signature of Attorney for Debtor(s) (Date)

 

Wee tet

EAI

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LOGS UI’ GOUW UWdi Ul Li Ve PpUssuoolUii UL any PlUpeity Ulal pUovo Ul is allegeu WU pA

   

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A Cia Oi LTT GG GUC TLL IS aT Ws puulic leah Ui Salety ¢

 

0 Yes, and Exhibit C is attached and made a part of this petition.
oxo
Exhibit 1D

(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
(] Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.
If this is a joint petition:

(1 Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

 

‘ Information Regarding the Debtor - Venue
(Check any applicable box.)
Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

There is a bankruptcy case conceming debtor’s affilaie. general pariner, or partnership pending in this District.

C

oO Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
District, or the interests of the parties will be served in regard to the relief sought in this District.

 

 

Certification by a Debtor Who Resides as a Tenant of Residential Property

{fe ok all aanlicahto heacoes
(Check all applicable baxcs.)

oO Landiord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

oO Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

oO Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
of the petition.

Ci Debtor certifies that he/she has served the Landiord with this certification. (11 U.S.C. § 362(1)).

 

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
PETITION WORKSHEET

CASE NUMBER...: 13-06636-3G3
DEBTOR........: DOBY-WALKER, ANGELIA

JOINT. ......0-:

FILED.........: 11/06/2013 CASE TYPE: I COUNTY: 12031
WHERE........-2 [0]

TRUSTEE.......: [NEWAY, DOUG]

WHEN..........: MONDAY DECEMBER 23, 2013 AT 11:00 a.m. [47]

MATRIX Zn INST. APP. 20 LRG UNSEC. MATRIX (CH 11)
MATRIX ON DISK SOAR

PRO SE 20 LRG UNSEC. LIST (CH 11)

DISC. OF COMP.

muse Nb NN) eegurrep IF DEBTOR IS A CH 11 CORPORATION)

ss

SUMMARY OF SCHEDULES
SCHEDULES A- J (INDICATE UNDER COMMENTS IF ANY ARE MISSING)
—
DECLARATION UNDER PERJURY
 oraTEMENT OF FINANCIAL AFFAIRS
——~ CH 7 STATEMENT OF INTENTIONS
LU CHAPTER 13 PLAN

COMMENTS : '

 

 

CLAIMS BAR DATE: / / / COMPLAINT DATE: / /
Fee information:

Total -> $80.50
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Page 3

 

Voluntary Petition
(This page must be completed and filed in every case.)

ReeeDae Ings iL, ORL

 

Signature cs

 

Signaiure(s) of Debior(s) GindividuaiJoint)

I declare under penalty of perjury that the information provided in this petition is true
and correct.

[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that | may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such
nhanter and shance ty nenceed nnder chantar 7

{If no attorney represents me and no bankruptcy petition preparer signs the petition] I
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United Atates Code,
=e petition, . O :
Xx in @ ya. h. clo

Swans nen

 

 

 

 

 

Signature > a Foreign Represeniaiive
I declare under penalty of perjury that the information provided in this petition is true
and correct, that I am the foreign representative of a debtor in a foreign proceeding,
and that I am authorized to file this petition.

(Check only one box.)

 

Certified copies of the documents required by 1 1 U. S.C. § 1515 5 are attached,

(1 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

 

 

 

 

 

Signature of Attorney for Debtor(s)

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

Address

 

Telephone Number

 

Date

aT vainuhich £ TNT AWTYY 2 annlian th: titiitac 4

  

   
   

cettification that the attomey has no ‘knowledge after ai an n inquiry that the information
in the schedules is incorrect.

 

 

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

x

 

Signature of Authorized Individual

 

re, sf Auth. at Teak 1
Printed Naiie of Authorized Individual

 

Title of Authorized Individual

 

Date

 

 

x
Si (Printed Name of Foreign Representative)
4 -R39O
ra et f "y agrees by attorney) os
Date * *
Signature of Attorney* Signature of Non-Attornev Bankruptcy Petition Prenarer
X I declare under penalty of perjury that: (1)I am a bankruptcy petition preparer as

defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information
required under 1] U.S.C. §§110(b), 110¢h), and 342(b), and, @)if rules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, T have given the debtor

 

 

 

partner of the bankraptey orp preparer.) (Required by 11 U.S.

VLY3 Gate or Wy iis ah Py?
coe 3005

 

 

~\ we

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Sociai-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an
individual.

If more than one person prepared this document, attach additional sheets conforming

to the appropriate official form for cach person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. 11U S.C. § 110; 18 U.S.C. § 156.

 

 

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B 1C (Official Form 1, Exhibit C) (9/01)

[If to the best of the debtor’s knowledge, the debtor owns or has possession of property that poses or is alleged to pose a threat of
imminent and identifiable harm to the public health or safety, attach this 'xhihit “C” to the petition ]

UNITED STATES BANKRUPTCY COURT

won ghia. Oe

Debtor

Case No.

 

Neo’ oe’

Chapter 1A

EXHIBIT “C” TO VOLUNTARY PETITION

1. Identify and briefly describe all real or personal property owned by or in possession of the debtor that, to the best of the
debtor’s knowledge, poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety (attach
additional sheets if necessary):

2. With respect to each parcel of real property or item of personal property identified in question-1, describe the nature and
location of the dangerous condition, whether environmental or otherwise, that poses or is alleged to pose a threat of imminent and
identifiable harm to the public health or safety (attach additional sheets if necessary):
 

 

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B 1D (Official Form 1, Exhibit D) (12/09)

In re Case No.

(if known)

 

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You muct he able to check truthfully one of the five ctatements recarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’

COLLECTION ACiiviiiEes.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

H vivnn the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan

GEVEIOpEa TOUR tHe ARETICY.

2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
nerfarmine a related bndoet analverc hut T do nat have a certificate from the avency descrihin &
the services provided to me. You musi file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
 

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Page 2
B 1D (Official Form 1, Exh. D) (12/09) — Cont. age

033.1 certify that T requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. {Summarize exigent circumstances here. ]

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate fram the agency that provided the counseling, together with a

eein dg wee ae ee eee ed ae Bees ct moe Ee She oe ee ee er

copy Oi any debi Managemen plan Geveloped throug the agency. Failure io Tuiiiii iiese
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

(4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court. ]

Cl Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational
decisions with respect to financial responsibilities. );

C3 Disability. (Defined ia ii U.S.C. § 109(i)(4) as physicaiiy impaired to ite
extent of being unable, after reasonable effort, to participate in a credit counseling
briefing in person, by telephone, or through the Internet.);

© Active military duty in a military combat zone.

l15 The tinited States trustee ar hankruntey administrator has determined that the credit

counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

I certify under penalty of perjury that the information provided above is true and
correct.

  
 

Signature of Debtor:

Date:
 

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B6 Summary (Official Form 6 - Summary) (12/07)

In re () il J WAOLE ‘oul, Case No.

Debtor

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
le d af amount of the d Indiv. idual debtors also must complete the “Statistical

   
 

 

NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS LIABILITIES OTHER

 

A - Real Property

\ © OH

 

B - Personal Property

4 |'2740

 

 

D - Creditors Holding
Secured Claims

 

UC
C - Property Claimed “ . |
as Exempt
LY”

 

E - Creditors Holding Unsecured $
Priority Claims ~\
(Total of Claims on Schedule E) {)
F - Creditors Holding Unsecured $

 

G - Executory Contracts and
Unexpired Leases

Nonpriority Claims DQ

 

H - Codebtors

 

 

J - Current Expenditures of Individual
Debtors(s)

i
t-

{- Current Income of | 4 "VIO
L~

 

 

 

 

 

 

 

 

TOTAL |

9750 18 131,0

 
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B 6 Summary (Official Form 6 - Summary) (12/07)

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a +f gef*s 6 “HR ETE Se MG4ilKi Ubu aS a & EREx £
Waste Wteeiwo LIU Up iw y AY “Mae

In re Case No.

\

 

Debtor
Chapter

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

G Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
mformation here

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Domestic Support Obligations (from Schedule E) $
Taxes and Certain Other Debts Owed to Governmental Units $
(from Schedule E)
$
Student Loan Obligations (from Schedule F) $
Domestic Support, Separation Agreement, and Divorce Decree $
Obligations Not Reported on Schedule E
Obligations to Ponsion or Profit-Sharing, and Other Similar $
Ubligatioiis ( Urom schodul is by }
TOTAL {| $
State the following:
Average Income (from Schedule I, Line 16) $
Average Expenses (irom Scieduie J, Line 13) >
Current Monthly Income (from Form 22A Line 12; OR, Form $
22B Line 11; OR, Form 22C Line 20 )
State the following:
1. Total from Schedule D, “UNSECURED PORTION, IF $
ANY” column
2. Total from Schedule E, “AMOUNT ENTITLED TO $
PRIORITY” column.
3. Total from Schedule E, “AMOUNT NOT ENTITLED TO $
PRIORITY, IF ANY” column :
4. Total from Schedule F $
5. Total of non-priority unsecured debt (sum of 1, 3, and 4) ool $

 

 

 
 

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Form 6A) (12/97)

Case No.

 

ff bees nee nm

yan aon

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the dahtnr’c awn hanafit, H tha dehtar ie married ctote wheather the huchond wife | hath nr the marital community awn tha pronerh: he nlacina + an “HE”?
“WwW,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community. ” If the debtor holds no interest in real property, wrile “None” under
“Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

fan entity clams io have a lieu or hold a secured interest in any properiy, siale ihe aiount of the secured claim. See Scheduie D. Ifuo entiiy claims
io hoid a secured micresi in tic proporiy, wnic “None” in ihe column labcicd “Amouni of Scourcd Cia.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

 

—
=

DESCRIPTION AND S = CURRENT VALUE AMOUNT OF

LOCATION OF NATURE OF DEBTOR’S yr OF DEBTOR’S SECURED
PROPERTY INTEREST IN PROPERTY == INTEREST IN CLAIM

aS | PROPERTY, WITHOUT
z = DEDUCTING ANY
g SECURED CLAIM

OP EXEMPTION

ee BURIED 2 ake

 

 

 

 

 

 

 

Total> (7)

(Report also on Summary of Schedules.)

 
 

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B 6B (Officral Form 6B) 1 DAD
In AF hou Lov) Case No.

Hebior Gf iknowa)

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name case number and the number of the catesory Ifthe debtor is married state whether the hnchand wife hath or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Ww

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
{the ¢ proper ty i is bolag held for the deutor by SUHICOHC lsc, state that ; person” 3 name aad addicss under * ‘Description aid Location of Property.’ »

T Lh a sae sao.
ii the proporiy is bong held lor a minor child, simply siaic ihe child's mitials and ihe name and address of tie child's paroni or guatdia, such as

“A .B.,a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

       

 

& CURRENT VALUE OF
g DEBTOR’S INTEREST
N KE IN PROPERTY, WITH-
TYPE OF PROPERTY Q 2s OUT DEDUCTING ANY
n 2 = Feist.
E as ‘OR EXEMPTION
1. Cash on hand. uM "

2. Checking, savings or other finan-
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

\

3. Security deposits with public util- |
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings, Computer Fea ry pee | TV \ i 50 O

including audio, video, and computer
equipment.

5. Books; pictures and other art CB 56
objects; antiques, stamp, coin, 2

record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel. ck whe, 2-00.

7. Furs and jewelry.

\\

8. Firearms and sports, photo-
graphic, and other hobby equipment.

9. Interests in insurance policies. -
Name insurance company of each
policy and itemize surrender or

refund value of each.
“
10. Annuities. Itemize and name
each issuer.
11. Interests in an education IRA as uu

defined in 26 U.S.C. § 530(bX1) or under
a qualified State tuition plan as defined in
26 U.S.C. § 529(b\(1). Give particulars.
(File separately the record(s) of any such
interest(s). 11 U.S.C. § 521¢¢).)

 

 

 

 

 

 

 
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B 6B (Official Form 6B) (12/07) -- Cont.

tn Ore lia \ Orbad

a Debtor

 

(if known)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
! = CRRA ET é in

2 DEBTOR'S INTEREST
& IN PROPERTY, WITH-
TYPE OF PROPERTY DESCRIPTION AND LOCATION =3 OUT DEDUCTING ANY

OF PROPERTY 3 SECURED CLAIM

ge OR EXEMPTION

 

12. Interests in IRA, ERISA, Keogh, or
other pension or profit sharing plans.
Give particulars.

13. Stock and interests in incorporated
and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint
ventures. Itemize.

15. Government and corporate bonds
and other negotiable and non-
negotiable instruments.

16, Accounts receivable.

17. Alimony, maintenance, support,
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life
estates, and rights or powers exercisable
for the benefit of the debtor other than
those listed in Schedule A- Real

Property.

20. Contingent and noncontingent
interests in estate of a decedent, death

21. Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclaims of the debtor, and
rights to setoff claims. Give estimated
value of each.

 

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benefit plan, life insurance policy, or trust.

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Case 3:13-bk-06636-PMG Doci1 Filed 11/06/13 Page 13 of 50

B 6B (Offi ‘orm 6B) (12/07) -- Cont.
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SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

CURRENT VALUE OF
DEBTOR'S INTEREST
LN PROPERTY, WITH-
GUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, ‘KCFE, JOINT,

mz 2
OR COMMUH I(T!

 

22. Patents, copyrights, and other
intellectual property. Give particulars.

23. Licenses, franchises, and other general
intangibles. Give particulars.

24. Customer lists or other compilations
containing personally identifiable
information (as defined in 11 U.S.C.

§ 101(41A)) provided to the debtor by
individuals in connection with obtaining a
product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers, Qide Gow u gt. }
Qua, Cds} mare deGip oe
and other vehicles and accessories. ~ ‘ c

26. Boats, motors, and accessories.

\ \ A

27. Aircraft and accessories.

28. Office equipment, furnishings,
and supplies.

\ \\\

29. Machinery, fixtures, equipment,
and supplies used in business.

30. Inventory.

31. Animals.

\ \ \

32. Crops - growing or harvested.
Give particulars.

33. Farming equipment and implements.

34. Farm supplies, chemicals, and feed.

\\ \

35, Other personal property of any kind
not already listed. Itemize.

 

 

 

 

 

 

 

 

continuation sheets attached Total» $ ‘) 4) 30
J

Cnclude amounts from any continuation
sheets attached. Report total also on
Summary of Schedules.)
 

Case 3:13-bk-0O6636-PMG Doci1 Filed 11/06/13 Page 14 of 50

B6C (Offigial form 6&C) | Wh
In re } Ryu Ll On\ox\ V Case No.

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SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under: O Check if debtor claims a homestead exemption that exceeds
(Check one box) $155,675.*

Fl At Ww ec & VME

1US.C. § 522(b)(3)

 

CURRENT
SPECIFY LAW VALUE OF VALUE OF PROPERTY
DESCRIPTION OF PROPERTY PROVIDING EACH CLALMED WilHGUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTION

 

 

 

 

 

 

 

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
 

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B 6D (Official Form 6D) ~Dusyl
In re A_- Oi \}

Debtor

 

 

(If known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
indoment liens, garnishments. statutory liens, mortgages, deeds of trust, and other security interests,

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address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H — Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”

if the claim is contingent. place an “X” in the column iabeled “Contingent.” if ihe claim is uniiquidated, piace an “X™ in the column
jabeied “Unliquidated.” it the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

ii Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

CREDITOR’S NAME AND ie DATE CLAIM WAS | .. a AMOUNT OF CLAIM UNSECURED
MAILING ADDRESS & 5 x z INCURRED, q Ee 1a WITHOUT PORTION, IF
INCLUDING ZIP CODE AND | &| =O 2 | NATUREOFLIEN, | & | § | & | DEDUCTING VALUE ANY
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(See Instructions Above.) 5 KS Ss DESCRIPTION 5 |2¢iz2
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Dilicduica 7 i
Summary of Certain
Liabilities and Related

Data.)
 

 

Case 3:13-bk-0O6636-PMG Doci1 Filed 11/06/13 Page 16 of 50

  
 

B 6Ip (Official Form 6D) (12/07) — Cont. 2

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(if knewn)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

(Continuation Sheet)

 

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NUMBER 8 a o VALUE OF PROPERTY 5 e)\ 2
(See Instructions Above.) oO zg > 8 SUBJECT TO LIEN 8 o a
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Total(s) > $ $
(Use only on last page) S OD
(Report also on df applicable,
Summary of Schedules.) _ report also on
Statistical Summary
of Certain
Taabilities and

Related | ala.)
Case 3:13-bk-06636-PMG Doci1 Filed 11/06/13 Page 17 of 50

Case No.

   

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the

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dcbtor, as of the date of the ing of the pottion. Use a scparate continuation sacct for cach wpe of privi ity and labo! cach with the type of prc ity.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
“A B., aminor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entily on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband. wife,

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Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

ate

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Rcport the total of amounts entitled to priority listed on cach shect in the box labeled “Subtotals” on cach shect. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

iJ Check this box if debtor has no creditors hoiding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
[[] Domestic Support Obligations
Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmenial unit to whom such a domestic support ciaim has been assipned to the extent provided in
ii US.C. § 507(ajCiD.
[CJ Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

m1... sot : eos
Lu Wages, salarics, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

Contributions to employee benefit plans
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IVIUHCY OWCU LO CLIPIOyYCe UCHCLL Pidlis LOP services roHnucred Wilkin LOU Gays UNMICdiulcly precediip UWlC LilHIp OL WS OFipitlak DCULIOLL, Or lie

cessalion of busimess, whichever occurred Grsi, io ihe cxicni provided m 11 U.S.C. § 507(aj(5).

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
 

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B6E (Official Form 6E) (04/1 3)- Cont.

 

 

Case No.

 

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SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

(Continuation Sheet)

Type of Priority for Claims Listed on This Sheet

 

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CREDITOR’S NAME, E % a DATE CLAIM WAS 5 a AMOUNT AMOUNT AMOUNT
MAILING ADDRESS " z INCURRED AND il 5 a OF ENTITLED NOT
INCLUDING ZIP CODE, z g CONSIDERATION oO F CLAIM TO ENTITLED
AND ACCOUNT NUMBER ee a 26 FOR CLAIM & E PRIORITY To
(See instructions above.) Ole ° z g a PRIORITY, IF
a o z A ANY
a
Account No. QUAL 8327
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Good West Bay St | Bol:
rrakoar a Ili Cias0a
Account No.
Account No.
Account No.
Sheet no. of __ continuation sheets attached to Schedule of Subtotals» | $ j $ nf
Creditors Holding Priority Claims (Totals of this page) BlLeQ G lp ©
Vv
Total» | $

(Use only on last page of the completed
Schedule E. Report also on the Summary
of Schedules.)

Totals»
(Use only on last page of the completed
Schedule E. If applicable, report also on
the Statistical Summary of Certain
Liabilities and Related Data.)

 

 

 

 

 

 
 

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B6E (Officig Form 6E) (04/13) — Cont.

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Fah fees anicge
LACT ty Mien Ty

CO Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

Cl Deposits by individuals

Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).
L_i Vaxes and Certain Other Debts Gwed to Governmentai Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

O Commitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of

Governors of the Federal Reserve Svstem ar their prederessars ar cneeescars fo maintain the canital of an insured denasitary institution TE Li SC

§ 507 (a)(9).

O Claims for Death or Personal Injury While Debtor Was Intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug_ or another substance. 11 USC. 8 507fa0100.

* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

continuation sheets attached
Case 3:13-bk-0O6636-PMG Doci1 Filed 11/06/13 Page 20 of 50

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pa” Case No.
Gf known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

  
    

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State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Ifa minor child is a creditor, state the child's mitials and the name and

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iG uardian, SucK G5 WinNT Cana, OF John Lae, guardian.’ oO TOL GisCiGse WS CNG S NANT. SOC, ia U. Gi2 Gna CG.

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If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

Ifthe claim i is contingent, place an “X” in the column labeled “Contingent. ” Ifthe claim i is unliquidated. place an “X”’ in the column labeled “T Unliquidated. ”

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Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
i j i i I I i i i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR’S NAME, 5 we DATE CLAIM WAS aq AMOUNT OF
MAILING ADDRESS & 2 INCURRED AND B ee CLAIM
INCLUDING ZIP CODE, BE |e E CONSIDERATIONFOR | 8 | < | 8
AND ACCOUNT NUMBER fo << 5 CLAIM. 4 B E
(See instructions above.) 8 | 2=6 | Ictamissupsecrto | & | & | &
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~ I
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ACCOUNT NO.
Subtotal> | $
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(Use only on last page ot the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 
Case 3:13-bk-0O6636-PMG Doci1 Filed 11/06/13 Page 21 of 50
B 6F (Official Form 6F) (12/07) - Cont.

  

 

   

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SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR’S NAME, x 5 ww DATE CLAIM WAS B18 AMOUNT OF
MAILING ADDRESS 2 ~O INCURRED AND 4 /# | 8 CLAIM
INCLUDING ZIPCODE, | 4 | 2 E CONSIDERATION FoR | 9 | < F
AND ACCOUNT NUMBER | & | < & CLAIM. . Ae
(See instructions above.) S | 42> | IFCLAIMISSUBJECTTO |Z | Oo | 4
Z SETOFF, SO STATE. Og
ACCOUNT NO.
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to Schedule of Creditors Holding Unsecured
Nonpriority Claims
Totaly 9 5
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical Cy
Summary of Certain Liabilities and Related Data.)

 

 

 
 

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Case No.

 

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If

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aminor child i party to one of the} 3 OT contracts, stats the child's initials and the and addross of the child’ 8 parent

  
  

    

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Fed. R. Bankr. P. 1007(m).

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CCheck this box if debtor has no executory contracts or unexpired leases.

 

| NAME AND MAILING ADDRESS, | DESCRIPTION GF CONTRACT OR LEASE AND |
INCLUDING ZIP CODE, NATURE OF DEBLOR’S INTEREST, STATE
OF OTHER PARTIES TO LEASE OR CONTRACT. WHETHER LEASE IS FOR NONRESIDENTIAL

REAL PROPERTY. STATE CONTRACT
NUMBER OF ANY GOVERNMENT CONTRACT.

 

 

 

 

 

 

 

 

 

 
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B 6H (Official Form 6H) (12/07) f

       

In re Case No.

 

SCHEDULE H - CODEBTORS

Provide the information requested conceming any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Mirecancin) uathin the
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed, R. Bankr. P. 1007(m).

 

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PU check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

 

 

 

 
Case 3:13-bk-0O6636-PMG Doci1 Filed 11/06/13 Page 24 of 50

Case No.

 

 

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 

Debtor’s Marital DEPENDENTS OF DEBTOR AND SPOUSE

 

Status:
RELATIONSHIP(S): AGE(S):

 

 

Employment: DEBTOR SPOUSE

 

Occupation

 

Name of Empiover

 

How tong emptoyer
Address of Employer

 

 

 

INCOME: (Estimate of average or projected monthly income at time DEBTOR Ort SPOUSE

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1. Monthly gross wages, salary, and commissions

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Prorate if not paid monthly) $ $
2. Estimate monthly overtime
3. SUBTOTAL or
4. LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security sk} $.
b. Insurance $ $
c. Union dues $ 8 $
d. Other (Specify): $ o $
5. SUBTOTAL OF PAYROLL DEDUCTIONS ls (ser ‘ |
6. TOTAL NET MONTHLY TAKE HOME PAY 3 Can” $
7. Regular income from operation of business or profession or farm $ $
(Attach detailed statement)
8. Income from real property ‘_—_5— $,
9. Interest and dividends $ $
10. ANmon, miainiwnance or supporl parnicals peyauls 1G the doblor Sr > ©
the debtor’s use or that of of dependents listed above . °
11. Social securi or ove ent assistance
(Specify): ce bu ee s_\199 5
12. Pension or ee income YD
13. Other monthly income $ $
(Specify): $ OC)
14. SUBTOTAL OF LINES 7 THROUGH 13 $_ | \ “\ 1 5.
15, AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14) | $f | 7) $
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column $ lt)
totals from line 15) (Report also on Summary of Schedules and, if applicable,

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17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

 

 
 

Case 3:13-bk-0O6636-PMG Doci1 Filed 11/06/13 Page 25 of 50
B6J (Official Form 63) |

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ebtor (if known)

 

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
allowed on Form22A or 22C.

   

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LR i r} q 5
- Rent or home mortgage payment (include lot rented for mobile home) $ LJ
a. Are real estate taxes included? Yes No
b. Is property insurance included? Yes No
2. Utilities: a, Electricity and heating fuel $ O
b. Water and sewer $ > 2
c. Telephone $ 2 O

d. Other $ c y
3. Home maintenance (repairs and upkeep) $ )
4. Food $_S [Was

 

 

 

5. Clothing $
6. Laundry and dry cleaning $ Q
7. Medical and dental expenses $ o
8. Transportation (not including car payments) $ }
9. Recreation, clubs and entertainment, newspapers, magazines, etc. $

10.Charitable contributions $ (2

1] Insurance (not deducted from wages or included in home mortgage payments)

a. Tomeowner’s or renter’e g

b. Life $ ( )
c. Health $
d. Auto $

e. Other $ 0

 

 

 

 

 

 

 

12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify) $ 0)
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
a. Auto $ 0
b. Other $ C
c. Other $ ph
14. Alimony, maintenance, and support paid to others $ [ )
15. Paymeiis fui suppoui of additional dvpoidouts avi living at your Loic 3 :
16. Regular expenses from operation of business, profession, or farm (attach detailed statement) $

 

17. Other $ ¢ 2

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, $ OG ‘) 5
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:

 

 

 

 

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I
b. Average monthly expenses from Line 18 above
¢. Monthly net income (a. minus b.)
Case 3:13-bk-06636-PM

   

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Case No.
(if known)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

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Debtor

 

Date Signature:

 

 

(Joint Debtor, if any)

{ii joint case, both spouses must sign. j

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) 1 am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum

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Printed or Typed Name and Title, if any, Social Security No.
of Bankruptcy Petition Preparer (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.

 

 

Address

x
Signature of Bankmuptcy Petition Preparer Date

 

Names and Social Sccurity numbers of aii other individuals who prepared or assisted in preparing this document, unicss the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 USC. § 156.

 

DECLARATION TINDER PENALTY OF PERTUIRV ON REHALE OF A CORPORATION OR PARTNERSHIP

 

 

I, the [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership } of the {corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my

knowledge, information, and belief.

Date

 

Signature:

 

 

[Print or type name of individual signing on behalf of debtor.]
[An individual signing on behalf of a parmership or corporation must indicate position or relationship to debtor. ]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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LINITED STATES BANKRUPTCY COURT

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In re Case No.
Debtor (if known)

 

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
chonld nravide the information renecied an thie efatement! concerning all ench activities ae well ac the individual's nerennal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,

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case number ui kno wii), ANG Th HUHLOCY Gt ule Gucsuoil.

DEFINITIONS

"In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is “in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more

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of the voting or oquity sccurifics of a COTPOTauon, & parmhcr, Cuici ian a

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a limited part vCT, Ui a pariner. ship; a SGiT pruypti avila We

    
 

    
   

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gcii- cniploy cd Tuli- {iis or par rt-tiic. An imdividual UVUWT GisU auay oo “Wh busic3s ior iis purpose ot this form i ic debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

“Insider.” The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of

a ds obtor. PVTTISE SVAVAN (ay
the Gece PUSS. Yves Woy,

 

1, Income from employment or operation of business

the debtor’ s business, including Parl- time activities either as an employee or in independent trade or business, from the

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ry State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
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two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

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AMOLINT SOURCE
 

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2. Income other than from employment or operation of business

Staic the amouni of mcome rocoived by Uie debior oilor tian irom Gupioymii, irade, proicssicn, operation of ihe
debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

AMOUNT SOURCE

 

 

3. Payments to creditors

Compiete a. or b., as appropriate, and c.

a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling

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NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS PAID STILL OWING

b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than $6,225". If the debtor is an individual, indicate with an asterisk
(*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors

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not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. )

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS/ PAID OR STILL
TRANSFERS VALUE OF OWING
TRANSFERS

 

*
Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or

after the date of adjustment.
 

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c. Ali debiors: Lisi aii payments made within one year immediately preceding the commencement of this case

to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENT PAID STILL OWING

 

None |

None

4. Suits and administrative proceedings, executions, garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)

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b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include information concerning property of either or both spouses whether or not a joint petition is filed, unless

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NAME AND ADDRESS DATE OF DESCRIPTION
OF PERSON FOR WHOSE SEIZURE AND VALUE
BENEFIT PROPERTY WAS SEIZED OF PROPERTY

 

5. Repossessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
gies) uh othes ae mat nein? notiti|an is filed antess the esavesns arn sonerated and - taint notHinn ie net Pilea
SPVUUs. YAINREIVE WE Hot Ch PURE puition AD LiLVU, BELEWS LL SpVusys aw Sepa aw and a Out pe salive As phy filed}
NAME AND ADDRESS DATE OF REPOSSESSION, DESCRIPTION
OF CREDITOR OR SELLER FORECLOSURE SALE, AND VALUE
TRANSFER OR RETURN OF PROPERTY

 
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6. Assignments and receiverships

a. Describe ay assignimoni of proporiy ior tic bonclil of Crcdiiors madc willin 120 Gays mimicdiaichy precoding tie
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

NAME AND ADDRESS DATE OF TERMS OF
OF ASSIGNEE ASSIGNMENT

 

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the

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SpOuses are scpa;r ated and ajomt pottion 13 not TCG.)

 

NAME AND ADDRESS NAME AND LOCATION DATE OF DESCRIPTION
OF CUSTODIAN OF COURT ORDER AND VALUE

CASE TITLE & NUMBER Of PROPERTY
7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
and charitable contributions acoreeating less than S100 ner recinient (Married dehtors filine under chanter 17 ar
chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

 

[

NAME AND ADDRESS RELATIONSHIP DATE DESCRIPTION
OF PERSON TO DEBTOR, OF GIFT AND VALUE
OR ORGANIZATION IF ANY OF GIFT

8. Losses

List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement

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of this casc or siaee the commencement af thic caaz Narre and doktass fil. amidor chapter 12 or chapter 13 must

Ht GF this Case. (Mariod GUTS Hang UNGOT CUaPwT 12 GF ap His
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joint petition is not filed.)

Crapw
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Ay Sv pPaidid all a

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF DATE
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART OF LOSS
PROPERTY BY INSURANCE, GIVE PARTICULARS

 
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9. Payments related to debt counseling or bankruptcy

Lisi all paymonis made or property anslomeod by oF on beliall of tic dcbior io any persons, moluding alionicys, Lor
consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS DATE OF PAYMENT, AMOUNT OF MONEY OR
OF PAYEE NAME OF PAYER IF DESCRIPTION AND
OTHER THAN DEBTOR VALUE OF PROPERTY

 

10. Other transfers

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this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATE DESCRIBE PROPERTY
OF TRANSFEREE, TRANSFERRED AND
RELATIONSHIP TO DEBTOR VALUE RECEIVED

b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER DATE(S) OF AMOUNT OF MONEY OR DESCRIPTION
DEVICE TRANSFER(S) AND VALUE OF PROPERTY OR DEBTOR’S

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None /

11. Closed financial accounts

List aii financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
closed, soid, or otherwise transferred within one year immediately preceding the commencement otf this case. Include
checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

OF INSTITUTION DI GITs OF ACCOUNT NUMBER, DATE OF SALE

AND AMOUNT OF FINAL BALANCE OR CLOSING

 
 

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12. Safe deposit boxes

Lisi cach salc doposil or other box or deposiiory im witch ihe dcbior las or iad scvurilics, cash, or oilicr valuables
within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER
OF THOSE WITH ACCESS OF

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13. Setoffs

List all setotfs made bv anv creditor, including a bank. against a debt or denosit of the debtor within 90 davs preceding

 

i | the commencement of this case. (Married debtors filmg under chapter i2 or chapter 13 must include information
concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

NAME AND ADDRESS DATE OF AMOUNT
OF CREDITOR SETOFF OF SETOFF
14, Property held for another person
nie List all property owned by another person that the debtor holds or controls.
io

NAME AND ADDRESS DESCRIPTION AND LOCATION OF PROPERTY
OF OWNER VALUE OF PROPERTY

 

 

15. Prior address of debtor

if debtor has moved within three years immediately preceding the commencement of this case, list all premises
which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
filed, report also any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

 
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16. Spouses and Former Spouses

California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight

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INDLG ii Wis UOOLOT TUSiIGCS U1 1USiGCU ili a WHIT proper iy Slaw, Vou Gli WUdiui, Ur icimivry dncluding Alaska, Arizona,

NAME

 

 

 

 

17. Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation

      
   

regulating

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or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
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unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the

oI . a. List the name and address of every site for which the debtor has received notice in writing by a governmental
governmental unit, the date of the notice, and, if known, the Environmental Law:

STTE NAME NAME AND ADDRESS DATE OF ENVIRONMENT AT,
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

 

 

 

Node tor provided notice to a governmental unit of a release
hich the notice was sent and the date of the notice
DATE OF ENVIRONMENTAL
NOLICE LAW
Noi ¢. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number.
NAME AND ADDRESS DOCKET N ii SLiATUS OR
OF GOVERNMENTAL UNIT DISPOSITION
/ 18 . Nature, location and name of business
lone a. Ifthe debtor is an individual. list the names. addresses. iaxnaver-identilication numbers. nature of the businesses.

and beginning and ending dates of all businesses in which the debtor was an otticer, director, partner, or managing
executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
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other activity either full- or part-time within six years immediately preceding the commencement of this case, or in

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which the debtor owned 5 percent oF

ore of the voting or cauity sccuntics within «ix wears lesicdistele neneedingn
HMO UT WIG VOLE vi CApILy SOLULIIVS WILT Six Jtars THEM aLy preceaing:
ie coOmMCNCCHCHE OF this Casc.
Ifthe debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the

voting or equity securities, within six years immediately preceding the commencement of this case.

   

If the dehtor is a corporation, hist the names, addresses. taxnaver-identification numbers, nature of the businesses, and

    

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ding the commencement of this case.

     

    

NAME LAST FOUR DIGITS ADDRESS NATURE OF BUSINESS BEGINNING AND
OF SOCIAL-SECURITY ENDING DATES
OR OTHER INDIVIDUAL

TAXPAYER-LD, NO.

QTTNN COMPLETE EIN

b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
defined in 11 U.S.C. § 101.

NIEARAT: ADDRESS

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The following questions are to be completed by every debtor that is a corporation or partnership and by any individual

debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
olftcer. director, managing executive. or owner of more than 5 percent of the voting of equity securities of a corporation: a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed im a trade, profession, or other activity,
either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in

business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

 

7 ,

19. Books, records and financial statements

a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED

b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
case have audited the books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES

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a “. List all firms or individuals who at the time of the commencement of this case were in possession of the
i

NAME ADDRESS

Nghe d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
7] financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

 

20. Inventories

a. List the dates of the last two inventories taken of your propertv. the name of the person wiio supervised the
taking of each inventory, and the dollar amount and basis of each imventory.

Li

DATE OF INVENTORY INVENTORY SUPERVISOR DOLLAR AMOUNT
OF INVENTORY
(Specify cost, market or other basis)

None/  b. List the name and address of the person having possession of the records of each of the inventories reported
} in a., above.

DATE OF INVENTORY NAME AND ADDRESSES
OF CUSTODIAN

AT RNVTArTrAnN YY NOONAN ne

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21 . Current Partners, Officers, Directors and Shareholders

a. if the debtor is a partnership. iist the nature and percentage of partnership interest of each member of the

LX

partnership.
NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST
Nog b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
corporation.

 

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J

22. Former partners, officers, directors and shareholders

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a. il ihe dobior is a parwicrsip, list cach mcmbor Wid Wilhdiow irom lic parinciship Willi Gace year Wamcdiaicly
preceding the commencement of this case.

NAME ADDRESS DATE OF WITHDRAWAL

b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

 

23. Withdrawals from a partnership or distributions by a corporation

If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,

- loans. stock redemptions. ootions oxercised and any c
min any form, bonuses, loans, stock redemptions, options oxercised and any oth

  
   

including comnc
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NAME & ADDRESS DATE AND PURPOSE AMOUNT OF MONEY
OF RECIPIENT, OF WITHDRAWAL OR DESCRIPTION
RELATIONSHIP TO DEBTOR AND VALUE OF PROPERTY

 

24, Tax Consolidation Group.

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neat Bees ae te wap

 

ww Gdantifinntion see

consolidated group for tax purposes of which the debtor | has been a member at any ” time within Six years
immediately preceding the commencement of the case.

   

  

ae af the mare

 

Be UOtposuewa: Oa ue

NAME OF PARENT CORPORATION TAXPA YER-IDENTIFICATION NUMBER (EIN)

 

25. Pension Funds.

If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
preceding the commencement of the case.

gab as

Ri ARALS £ abe S43 A WLU LDPE RP DELS ACHE
ANZMAVILS Wai i

PENSION FUN 4 SPERALPLGS FLEAS
SOLON FUNDS LAAVAYER-IDEN TIE BTR AUN INULIN (GaN

* ke Ok KR ok OR

[If completed by an individual or individual and spouse]
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B7 (Official Form 7) (04/13) 11
I declare under penalty of perjury that I have read the answers contained jn the foregoing statement of financial affairs
and aiiy allachincits thercts and that they are truc aid correct.

© 14 l 4 [13 13 Signature of Debtor,
Date Signature of Joint Debtor (if any)

 

 

 

[If completed on behalf of a partnership or corporation]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are tre and correct to the best of my knowledge, information and belief.

Tiste Stenatire

 

Print Name and Title

 

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor]

continuation sheets attached

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §8 152 and 3571

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
342(b), and, (3) if rules or guidelines have been promuigated pursuant to 11 U.S.C. § {i0Ch) setting a maximum fee for services chargeabic by bankruptey
peuiiion piepai vis, i lave given ite debiui nulice ui iw itMaiiuill aniuuii bvivie pivpai ig any ducuimiiii for iia iui a debivx UL auuupiing aiy ie divi
the debtor, as required by that section.

 

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social-Security No. (Required by 11 U.S.C. § 110.)

Jf the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,

responsible person, or purines who signs ihix dacumeni.
£

 

Address

 

Sipnatire of Rankmintey Petition Prenarer Date

Names and Social-Security numbers of al! other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or hoth. 18 U.S.C. § 156.
 

Case 3:13-bk-06636-PMG Doc 1

Cars and Credit
1200 Cassat Ave
Jacksonville, FL 32205

Capital One

Angelia L, Doby Walker

SS# XXX-XX-XXXX

Attn: Disputes

PO Box 30279

Salt Lake City, UT 84130-0279

Capiiai One
Shanterra K. Bland
SS# XXX-XX-XXXX
Attn: Disputes

PO Box 30275

Salt Lake City, UT 84130-0279

First PREMIER Bank
PO Box 5524
Sioux Falls, SD 57117-5524

Shanterra Bland
SS#XXX-XX-XXXX

First PREMIER Bank

PO Box 5524

Sioux Falls, SD 57117-5524

HSBC - North America

Address: Corporate Headquarters
2700 Sanders Road

Prospect Heights, IL 60070

Shanterra Bland
SS#XXX-XX-XXXX

First PREMIER Bank

PO Box 5524

Sioux Falls, SD 57117-5524

TeleCheck Services, Inc.
5251 Westheimer
Houston, TX 77056

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Matrix- List of Creditors

Angelia L. Doby Walker

7643 Gate Parkway Suite 104 PMB 199
Jacksonville, Florida 32256

SS# XXX-XX-XXXX

Internal Revenue Service
400 West Bay St.
Jacksonville, FL 32202

Checksystems

ATIN: Consumer Relations
7805 Hudson Road Suite 100
Woodbury, MN 55125

Veritec Solutions, LLC

ThoaR

a gey az

9428 Baymeadows Road
Suite 600
Jacksonville, FL 32256

ayweoad Cantor
hy TN RPieas SM Rlaa ae

State of Florida Office of Financial Regulation
260 East Gaines Sireet
Tallahassee, FL 32399-0376

Saint Leo University

A951? O04 MF at
JOSE SEHTG MGat NS

Saint Leo, Florida 33574-6665

U.S. Bancorp

U.S. Bancorp Center
800 Nicollet Mall
Minneapolis, MN 55402

Regions Bank
100 Corsair Dr
Daytona Beach, FL 32114

TD Bank, Daytona Isb
1060 West International Speedway Blvd
Daytona Beach, FL 32114

Amscot
QO WNT V4 at LI. -.:3=--s.<; WP¥...3
7/7 ¥ ¥¥ SCV aE wre + ay Hpayvis

Daytona Beach, Florida 32114
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Welis Fargo Bank Student Loan
3015 S. Parker Rd. 400
Aurora, CO 80014

SallieMae Student Loans
220 Lasley Ave
Wilkes-Barre, PA 18706

Nelnet Sudent Loan Service
121 S 13™ Street STE 201
Lincoln, NE 68508

NCO Financial Systems, Inc

Shanterra Bland-ADT
507 Prudential Rd
Horsham, PA 19044

Ability Recovery Services LLC
Shanterra Bland
MERASTAR/UNITRIN

1 Montage Mountain Road
Moosic, PA 18507

 
 

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VERIZON WIRELESS

ANGELIA WALKER

ACCOUNT# 521773803-00005

500 TECHNOLOGY DRIVE SUITE 550
WELDON SPRING, MO 63304

MCI

ANGELIA DOBY
ACCOUNT#4LY42778

PHONE# 904-363-9924

S00 TECHNGLGOGY DRIVE SUITE 5506

WELDON SPRING, MO 63304

COMCAST

ANGELIA DOBY
SHANTERRA BLAND
ACCOUNT#849574121 1607696

1701 J.F.K BLVD
PHILADELPHIA, PA 19103

Angelia L. Doby
SS#XXX-XX-XXXX

Veritec Solutions, LLC
The Baywood Center
9428 Baymeadows Road
Suite 600

Jacksonville, FL 32256

Shanterra Bland

SS# XXX-XX-XXXX
Veritec Solutions, LLC
The Baywood Center
9428 Baymeadows Road
Suite 600

Jacksonville, FL 32256

Shanterra Bland

SS#XXX-XX-XXXX

Cavalry Portfolio Services

500 Summit Lake Drive Suite 400
Valhalla, NY 10595

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B 4 (Official Form 4) (12/07)

UNITED STATES BANKRUPTCY COURT

In re Case No.

Chapter \ 5

LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

 

Following is the list of the debtor’s creditors holding the 20 largest unsecured claims. The list is
prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case.
The list does not include (1) persons who come within the definition of “insider” set forth in 11 U.S.C.

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pire, beh LF Soiree Gru ao PS USS eee Vers Ure Cin eaAri Eas

tL at -- aA. -
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places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the
creditors holding the 20 largest unsecured claims, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

qd) (2) GB) (4) (5)
Name of creditor Name, telephone number and Nature of claim Indicate if claim Amount of claim
and complete complete mailing address, (trade debt, bank is contingent, [if secured also
mailing address, including zip code, of loan, government unliquidated, state value of
including zip employee, agent, or department contract, etc.) disputed or security]
andes at: nace Ti tose | Foren

 

vith eohiant ta entaff

claim who} may 5 be contacted

gp

7

 

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ff Meee berseretreers ere gig figs fF
jirecrus GUtiUTi US fi 1 UT HE “]

Cagle) Dolog | NO bn

“Debtor
 

 

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B 22C (Official Form 22C) (Chapter 13) (04/13)

|
Inte . idea According to the calculations required by this statement:
ebtor(s) | EdThe applicable commitment period is 3 years.
[] The applicable commitment period is 5 years,

Case Number: [_] Disposable income is determined under § 1325(b)(3).
(If known) C1) Disposable income is not determined under § 1325(b)(3).
(Check the boxes as directed in Lines 17 and 23 of this statement.)

 

 

CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME

Ben ny tHine + t and mea mad ane ato d

Uobadutncg Po 4b atrtnminy aqot ba ann Ww every indisidual shentae J on woah ath ae ae ns. Pe Vee ey
in addition to Schedules { ana v, this statement must be conipicted by every inGivigual chapter 13 debtor, whether or not filing

Jointly. Joint debtors may complete one statement only.

 

Part I. REPORT OF INCOME

 

Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

1 {a Edtnmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.

b. [] Married. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 2-10,

All figures must reflect average monthly income received from all sources, derived during the | Column A | Column B
six calendar months prior to filing the bankruptcy case, ending on the last day of the month Debtor’s

before the filing. If the amount of monthly income varied during the six months, you must
divide the six-month total by six, and enter the result on the appropriate line.

 

Spouse’s
Income Income

 

 

2 Gross wages, salary, tips, bonuses, overtime, commissions. $ / / mo $
f

Income from the operation of a business, profession, or farm. Subtract Line b from Line a
and enter the difference in the appropriate column(s) of Line 3. If you operate more than one
business, profession or farm, enter aggregate numbers and provide details on an attachment.
Do not enter a number less than zero. Do not include any part of the business expenses

3 entered on Line b as a deduction in Part IV.

 

a. Gross receipts $

 

b. Ordinary and necessary business expenses $

 

 

 

 

 

c. Business income Subtract Line b from Line a $ O $

 

Rent and other real property income. Subtract Line b from Line a and enter the difference
in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include
any part of the operating expenses entered on Line b as a deduction in Part IV.

 

4 a. | Gross receipts $

 

b. Ordinary and necessary operating expenses $

 

 

 

 

 

c. Rent and other real property income Subtract Line b from Line a $ {9

 

5 Interest, dividends, and royalties. $

 

6 Pension and retirement income. $

 

 

DOO)

Any amounts paid by another person or entity, on a regular basis, for the household

expenses of the debtor or the debtor’s dependents, including child support paid for that

7 | purpose. Do not include alimony or separate maintenance payments or amounts paid by the
debtor’s spouse. Each regular payment should be reported in only one column; if a payment is

listed in Column A, do not report that payment in Column B. $ 0

 

 

 

 

 
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B 22C (Official Form 22C) (Chapter 13) (04/13) 2

 

Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
However, if you contend that unemployment compensation received by you or your spouse
was a benefit under the Social Security Act, do not list the amount of such compensation in

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

8 | Column A or B, but instead state the amount in the space below:
Unemployment compensation claimed to
be a benefit under the Social Security Act | Debtor $ f ) Spouse $ $ DO $
Income from all other sources. Specify source and amount. If necessary, list additional
Sources on a separate page. Total and enter on Line 9. Do not include alimony or Separate
maintenance payments paid by your spouse, but include all other payments of alimony or
separate maintenance. Do not include any benefits received under the Social Security Act or
9 | payments received as a victim of a war crime, crime against humanity, or as a victim of
international or domestic terrorism.
a s i)
b. s /) sy §
10 Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
through 9 in Column B. Enter the total(s). $ / [ 4 Ig
Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
11 | enter the total. If Column B has not been completed, enter the amount from Line 10, Column .
A. s //))
Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
12 | Enter the amount from Line 11. $ / 17
Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that .
calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
Spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid ona
regular basis for the household expenses of you or your dependents and specify, in the lines below, the basis
for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of persons
other than the debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If
13 | necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do not
apply, enter zero.
a. $ 6
b. $f
C. $ 0
Total and enter on Line 13. $ { >
14 | Subtract Line 13 from Line 12 and enter the result. $ I] 9 7
15 | Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
and enter the result. $ | ¢ | a Y
Applicable median family income. Enter the median family income for applicable state and household size. !
16 | (This information is available by family size at www. usdoj.gov/ust/ or from the clerk of the bankruptcy
court.) .
a. Enter debtor’s state of residence: £ [ b. Enter debtor’s household size: / $ Ax. ov
Application of § 1325(b)(4). Check the applicable box and proceed as directed.
[the amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
17 3 years” at the top of page 1 of this statement and continue with this statement.
[J The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment period
is 5 years” at the top of page | of this statement and continue with this statement.
Part II. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
18

 

Enter the amount from Line 11. $ I { 1 of

 

 

 

 

 

 
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B 22C (Official Form 22C) (Chapter 13) (04/13)

 

19

Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses
of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the Column B
income (such as payment of the Spouse’s tax liability or the spouse’s support of persons other than the debtor
or the debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional

adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.

a. $ O
b. $l

 

 

 

 

 

 

 

C. $

Total and enter on Line 19. $ DH

 

 

20

Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result. $ (f 7 47

 

21

Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
and enter the result. $ 42) 073

 

22

 

Applicable median family income. Enter the amount from Line 16, sy or)
t

 

23

 

Application of § 1325(b)(3). Check the applicable box and proceed as directed.

(J The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not
complete Parts IV, V, or VI.

 

Part IV. CALCULATION OF DEDUCTIONS FROM INCOME

 

Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

 

24A

National Standards: food, apparel and services, housekeeping supplies, personal care, and
miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
Expenses for the applicable number of persons. (This information is available at www. usdoj. gov/ust/ or from
the clerk of the bankruptcy court.) The applicable number of persons is the number that would currently be
allowed as exemptions on your federal income tax return, plus the number of any additional dependents s [
whom you support. $ g GY

 

24B

National Standards: health care. Enter in Line al below the amount from IRS National Standards for Out-
of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
of-Pocket Health Care for persons 65 years of age or older. (This information is available at
www.usdoj.20v/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
years of age or older. (The applicable number of persons in each age category is the number in that category
that would currently be allowed as exemptions on your federal income tax return, plus the number of any
additional dependents whom you support.) Multiply Line al by Line b1 to obtain a total amount for persons
under 65, and enter the result in Line cl. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
and older, and enter the result in Line c2. Add Lines cl and c2 to obtain a total health care amount, and enter
the result in Line 24B.

 

Persons under 65 years of age Persons 65 years of age or older

al. | Allowance per person A > D a2. | Allowance per person SKL ,
bl. | Number of persons , / b2. | Number of persons

 

 

 

 

 

 

 

 

 

 

 

 

25A

 

cl. | Subtotal {yO [02 | Subtotal $ i ()

Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
Utilities Standards: non-mortgage expenses for the applicable county and family size. (This information is
available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size
consists of the number that would currently be allowed as exemptions on your federal income tax return, plus j (\
the number of any additional dependents whom you support. $ ls ()

 

 

 
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B 22C (Official Form 22C) (Chapter 13) (04/13)

 

25B

Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information
is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size
consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
the number of any additional dependents whom you support); enter on Line b the total of the Average
Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and
enter the result in Line 25B. Do not enter an amount less than zero.

 

a. IRS Housing and Utilities Standards; mortgage/rent expense $ ©

 

b. Average Monthly Payment for any debts secured by your
home, if any, as stated in Line 47 $ 0

 

 

 

 

 

c. Net mortgage/rental expense Subtract Line b from Line a.

 

26

Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
your contention in the space below:

 

 

 

 

27A

Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
regardless of whether you use public transportation.

Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
are included as a contribution to your household expenses in Line 7. []0 []1 [2 or more.

If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
the bankruptcy court.)

 

27B

Local Standards: transportation; additional public transportation expense. If you pay the operating
expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
additional deduction for your public transportation expenses, enter on Line 27B the “Public Transportation”
amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
the clerk of the bankruptcy court.)

 

 

28

 

Local Standards: transportation ownership/ease expense; Vehicle 1. Check the number of vehicles for
which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
two vehicles.) [-]1 (]2 or more.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
(available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
Line a and enter the result in Line 28. Do not enter an amount less than zero.

 

 

 

IRS Transportation Standards, Ownership Costs $ 0)
b. Average Monthly Payment for any debts secured by Vehicle 1,
as stated in Line 47 $ D
c. Net ownership/lease expense for Vehicle 1 Subtract Line b from Line a.

 

 

 

 

 

 

 
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B 22C (Official Form 22C) (Chapter 13) (04/13)

 

29

Local Standards: transportation ownership/ease expense; Vehicle 2. Complete this Line only if you
checked the “2 or more” Box in Line 28.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
(available at www.usdoj gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
Line a and enter the result in Line 29. Do not enter an amount less than zero.

IRS Transportation Standards, Ownership Costs $ 0

b. Average Monthly Payment for any debts secured by Vehicle 2,
as stated in Line 47 $ —D

c. Net ownership/lease expense for Vehicle 2 Subtract Line b from Line a.

 

 

 

 

 

 

 

 

30

Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.

 

31

Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
deductions that are required for your employment, such as mandatory retirement contributions, union dues,
and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.

 

32

Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
life or for any other form of insurance.

 

33

Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
Do not include payments on past due obligations included in Line 49.

 

34

Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
Enter the total average monthly amount that you actually expend for education that is a condition of
employment and for education that is required for a physically or mentally challenged dependent child for
whom no public education providing similar services is available.

a

 

35

Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
payments.

 

36

Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
on health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed
by insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do
not include payments for health insurance or health savings accounts listed in Line 39.

 

37

Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
actually pay for telecommunication services other than your basic home telephone and cell phone service—
such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
your health and welfare or that of your dependents. Do not include any amount previously deducted.

S.A

 

 

38

 

 

Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.

$3055).

 

Subpart B: Additional Living Expense Deductions
Note: Do not include any expenses that you have listed in Lines 24-37

 

 

 
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B 22C (Official Form 22C) (Chapter 13) (04/13)

 

39

Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or
your dependents.

a. Health Insurance $ ©)
b. Disability Insurance $ (OD
C. Health Savings Account $ L?

Total and enter on Line 39

 

 

 

 

 

 

 

 

If you do not actually expend this total amount, state your actual total average monthly expenditures in the
space below:

$

 

40

Continued contributions to the care of household or family members. Enter the total average actual
monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
elderly, chronically ill, or disabled member of your household or member of your immediate family who is
unable to pay for such expenses. Do not include payments listed in Line 34.

 

 

41

Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
other applicable federal law. The nature of these expenses is required to be kept confidential by the court.

 

42

Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
Local Standards for Housing and Utilities that you actually expend for home energy costs. You must provide
your case trustee with documentation of your actual expenses, and you must demonstrate that the
additional amount claimed is reasonable and necessary.

oO

 

43

Education expenses for dependent children under 18. Enter the total average monthly expenses that you
actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
school by your dependent children less than 18 years of age. You must provide your case trustee with
documentation of your actual expenses, and you must explain why the amount claimed is reasonable
and necessary and not already accounted for in the IRS Standards.

 

Additional food and clothing expense. Enter the total average monthly amount by which your food and
clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
National Standards, not to exceed 5% of those combined allowances. (This information is available at
www.usdo;.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
amount claimed is reasonable and necessary.

 

45

Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
charitable contributions in the form of cash or financial instruments to a charitable organization as defined in
26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.

 

46

Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.

{>Jf>

 

Subpart C: Deductions for Debt Payment

 

 

47

 

Future payments on secured claims. For each of your debts that is secured by an interest in property that
you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the
total of the Average Monthly Payments on Line 47.

 

Name of Creditor Property Securing the Debt Average Does payment
Monthly include taxes
Payment or insurance?

a. $ O yes Ono
b. $ Ol yes Ono
$ Oyes Ono

Total: Add
Lines a, b, andc

 

 

 

 

 

 

 

 

 

 

 

 

C7

 
 

 

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48

Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
a motor vehicle, or other property necessary for your support or the support of your dependents, you may
include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor in addition
to the payments listed in Line 47, in order to maintain possession of the property. The cure amount would
include any sums in default that must be paid in order to avoid repossession or foreclosure. List and total any
such amounts in the following chart. If necessary, list additional entries on a separate page.

 

Name of Creditor Property Securing the Debt 1/60th of the Cure Amount
a. $
b. $
$

Total: Add Lines a, b, andc

 

 

 

 

 

 

 

 

 

 

49

Payments on prepetition priority claims, Enter the total amount, divided by 60, of all priority claims, such
as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
filing. Do not include current obligations, such as those set out in Line 33.

$14.4

 

50

Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
resulting administrative expense.

 

4. | Projected average monthly chapter 13 plan payment. $

 

Current multiplier for your district as determined under
schedules issued by the Executive Office for United States
Trustees. (This information is available at www.usdoj.gov/ust/
or from the clerk of the bankruptcy court.) x

c. | Average monthly administrative expense of chapter 13 case

 

Total: Multiply Lines a and b

 

 

 

 

 

31

Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.

 

 

Subpart D: Total Deductions from Income

 

52

Total of all deductions from income. Enter the total of Lines 38, 46, and 51.

 

Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

 

53

Total current monthly income. Enter the amount from Line 20.

 

54

Support income. Enter the monthly average of any child support payments, foster care payments, or
disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
nonbankruptcy law, to the extent reasonably necessary to be expended for such child.

 

55

Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
repayments of loans from retirement plans, as specified in § 362(b)(19).

 

 

56

Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.

 

57

 

Deduction for special circumstances. If there are special circumstances that justify additional expenses for
which there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines
a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in
Line 57. You must provide your case trustee with documentation of these expenses and you must
provide a detailed explanation of the special circumstances that make such expenses necessary and
reasonable.

 

Nature of special circumstances Amount of expense
$
b. $
c. $

Total: Add Lines a, b, and c

 

 

 

 

 

 

 

 

 

 

 

 
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5g | Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter
the result. $ ©
59 : . .
Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result. Is{ Q 4
Part VI: ADDITIONAL EXPENSE CLAIMS
Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
and welfare of you and your family and that you contend should be an additional deduction from your current monthly
income under § 707(b)(2)(A)(ii)Q)._ If necessary, list additional sources on a separate page. All figures should reflect your
average monthly expense for each item. Total the expenses.
60 Expense Description Monthly Amount
a. $ ©
b. $
c. $ Q
Total: Add Lines a, b, and c $ O)
Part VII: VERIFICATION
I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,
both debtors must sign.) |
6 Date: \ \ Ut Signature
\
Date: Signature:
(Joint Debtor, ifany)

 

 

 
